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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

ENERGY SYSTEMS GROUP, LLC,                  )
an Indiana Limited Liability                )
Company, ACE AMERICAN                       )
INSURANCE COMPANY, a                        )
Pennsylvania Corporation,                   ) Case No.: 1:14-cv-03049-ELR
                             Plaintiffs,    )
                 v.                         )
WARE, INC.,                                 )
a Kentucky Corporation,                     )
                           Defendant.       )

                        JOINT NOTICE OF SETTLEMENT

       NOW COME Plaintiffs, ENERGY SYSTEMS GROUP, LLC and ACE

AMERICAN INSURANCE COMPANY (“Plaintiffs”), by and through their

counsel, Foran Glennon Palandech Ponzi & Rudloff PC, and Defendant, WARE,

INC. (“Defendant), by and through their counsel, Weinberg Wheeler Hudgins

Gunn & Dial, respectfully submit this Notice of Settlement, and inform the Court

as follows:

       1.       Plaintiffs and Defendant have reached an agreement to resolve the

claim that is the subject of this litigation.

       2.       The parties are in the process of preparing settlement documents.

       3.       Pursuant to the parties’ agreement, payment of the settlement

proceeds will be made in late November, 2016.
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          4.         The parties will file a Stipulation of Dismissal shortly after the

settlement proceeds are paid in late November of 2016.

          5.         Accordingly, there is no further need to hold the hearing scheduled for

October 20, 2016 on Defendant’s Motion to Dismiss on Grounds for Spoliation of

Evidence.



Respectfully submitted this 7th day of September, 2016.



                                                               Respectfully submitted,

                                                    By:        /s/ George M. Ferreti
                                                               FORAN GLENNON PALANDECH
                                                               PONZI & RUDLOFF PC
                                                               George M. Ferreti, Admitted Pro Hac Vice
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                                                    and
                                                               Brian Thomas Moore
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                                                               Atlanta, GA 30357
                                                               Email: bmoore@deflaw.com

                                                               Counsel for Plaintiffs
                                                               ENERGY SYSTEMS GROUP, LLC and
                                                               ACE AMERICAN INSURANCE COMPANY

                                                               And


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                                                       By: /s/ Scott A. Witzigreuter
                                                          Scott A. Witzigreuter
                                                          Matthew A. Marrone
                                                          George B. Green, Jr.
                                                          WEINBERG WHEELER
                                                          HUDGINS GUNN & DIAL
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                                                               Counsel for Defendant, WARE, INC.




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                                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Joint Notice of Settlement
was duly served on the following identified parties via the Court’s CM/ECF
system on September 7, 2016:

WEINBERG WHEELER HUDGINS GUNN & DIAL
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                                                               /s/ George M. Ferreti
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